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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X   Docket No.: 1:20-cv-10832-AT-SN

SECURITIES AND EXCHANGE COMMISSION,

                          Plaintiff,

                 v.

RIPPLE LABS, INC., BRADLEY
GARLINGHOUSE, and CHRISTIAN A. LARSEN,

                           Defendants.
-------------------------------------------------------------X



      BRIEF OF AMICUS CURIAE REAPER FINANCIAL, LLC IN SUPPORT OF
                     DEFENDANT RIPPLE LABS, INC.
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       I.      INTEREST OF AMICUS CURIAE.

       Reaper Financial, LLC’s (“Reaper Financial”) use of the XRP Ledger (“XRPL”) has not

been addressed by the parties or by current and proposed amici. As explained further below,

Reaper Financial utilizes its own digital currency unit, RPR, that is: (i) overlayed upon the XRPL;

(ii) has a use case entirely separate from Ripple Labs or amici in that it is a project based on token

voting to eliminate the circulating supply of other tokens, including XRP itself; and (iii) uses XRP

in fractional amounts in connection with the ‘transactional cost’ for using the XRPL. A finding by

the Court that the XRPL and XRP are inherently securities would severely impair Reaper

Financial’s ability (as well as other similarly situated projects) to survive. Although Reaper

Financial’s interests overlap with those of other entities granted amici status by the Court, its use

case of the XRPL and XRP are at the same time novel and distinct such that its interests are not

adequately addressed by Defendants or amici.

       Reaper Financial is greatly concerned with the SEC’s apparent, years-long position that, in

addition to XRP, the software code that comprises the XRPL is itself a security/investment

contract. See, e.g., ECF No. 153 at 24 (“The XRP traded, even in the secondary market, is the

embodiment of those facts, circumstances, promises, expectations and today represents an

investment contract”); ECF No. 674 at 28 (“the fortunes of XRP investors rise and fall with those

of Ripple”); id. at 31 (“the XRP Ledger was but the first step of broader set of suites, products,

and uses that Ripple promised to develop”). The SEC’s argument, taken to its logical conclusion,

goes even further than XRP token holders that merely buy, sell or trade XRP—it would negatively

affect companies such as Reaper Financial that tangentially use XRP via transaction costs when

utilizing the XRPL. In other words, by simply using the XRPL as a mechanism to transfer value

of any type, Reaper Financial—according to the SEC’s litigation theory in this case—is by

definition engaging in the sale of unregistered securities. But such an argument would necessarily
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render other electronic ledgers, such as Microsoft Excel or Google Sheets, securities per se as these

users similarly rely on these programs’ software code to properly use their spreadsheet

functionality. This overly broad, all-encompassing standard sought by the SEC should not be

allowed.

       II.     RELEVANT FACTUAL BACKGROUND.

       The XRPL is software code that acts as a mechanism to verify transactions and maintain

transactional history. Germane to Reaper Financial, “assets other than XRP can be represented in

the XRP Ledger as tokens.” See “Tokens,” XRPLedger.org, available at https://xrpl.org/

tokens.html (last accessed on Nov. 9, 2022) (emphasis in original). Types of tokens issued upon

the XRPL vary widely and can include stablecoins backed by tangible assets, fiat digital tokens,

and community credits. Id. Any project wishing to issue tokens on the XRPL requires funded

XRPL accounts and a certain amount of XRP. See “Issue a Fungible Token,” XRPLedger.org,

available at https://xrpl.org/issue-a-fungible-token.html (last accessed Nov. 9, 2022).

       Reaper Financial is an Austin, Texas-based limited liability company founded in December

2021 by Patrick L. Riley, its Chief Executive Officer and current U.S. Army Combat Medic.

Exhibit 1, Declaration of Patrick L. Riley (11/9/22) (“Riley Decl.”) ¶¶ 1-2. Reaper Financial’s

primary mission is to act as a reaper of assets by purchasing and subsequently destroying them. Id.

at ¶ 3. The company began its mission by focusing on reaping excess and unvalued digital assets

issued on various blockchain ledgers. Id. at ¶ 4. The goal is to prevent violent market swings by

removing the excess and unvalued assets. Id. Digital assets are targeted for destruction through a

decentralized voting mechanism that occurs on the XRPL. Id. at ¶ 5. The future goal of Reaper

Financial is to allow reaping for any type of asset through decentralized voting, be it an auto loan,

student loan, or mortgage. Id. at ¶ 6. Reaper Financial achieves its mission through RPR, its native

digital token. Id. at ¶ 7. RPR is a fungible digital token created by Reaper Financial on the XRPL,
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meaning RPR requires the use of the XRPL to function. Id. Reaper Financial has no professional

relationship with Ripple Labs nor its employees. Id. ¶ 8. Ripple Labs did not market the XRPL or

use of XRP to Reaper Financial. Id. Nor did any marketing efforts of Ripple Labs or its employees

play any role in Reaper Financial selecting the XRPL for the company’s decentralized voting

mechanism. Id. Reaper Financial utilized the XRPL because, as compared to other blockchain

mechanisms, the XRPL is more decentralized in nature, has the lowest transaction fees, and has

the fastest transaction speed. Id. at ¶ 9.

        Reaper Financial achieves its business objective of reaping assets through RPR where

owners of RPR vote on which asset each owner chooses to eliminate through each holder’s RPR

voting share. Id. at ¶ 10. The value of RPR is used to purchase and destroy the assets which were

voted for destruction. Id. at ¶ 11. These votes are called “Reapings” and occur bi-weekly. Id. at ¶

12. With respect to digital assets, RPR owners that choose to vote in Reapings choose which asset

they seek to destroy aka “burn,” thereby permanently destroying those tokens. Id. at ¶ 13. The

assets to be burned are purchased at market value so that holders of that asset class are not harmed

by Reapings. Id. at ¶ 14. To date, Reaper Financial has purchased and permanently destroyed

through Reapings over 500,000 XRP-worth of other XRPL, ERC-20, and XinFin tokens

throughout twenty-three Reapings to date. Id. at ¶ 15. As the RPR ecosystem develops, Reapings

will also begin burning XRP itself. Id. Reaper Financial does not require Ripple Labs or any other

blockchain products’ permission to purchase and destroy these digital tokens. Id. at ¶ 16.

        RPR was created on the XRPL and is not a separate blockchain. Id. at ¶ 17. The

functionality of RPR is matched to that of XRP in speed, transaction fees, and validation to

decentralized XRP validators. Id. RPR would not function without the XRPL’s decentralized

network. Id. RPR was created on the XRPL by use of another third-party application, called



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Xumm, for a fee of 100 XRP. Id. at ¶ 18. This fee is then “burnt” by sending XRP to a “blackholed”

wallet address, which is publicly viewable at: rrnpnAny58ak5Q6po8KQyZXnkHMAhyjhYx. Id.

A blackholed wallet is a digital wallet where assets may be sent but cannot be withdrawn, hence

“burning” them. Id. In return the RPR token is issued to an XRP wallet address in the self-custodial

Xumm wallet. Id. The creation of the wallets and RPR both require the forfeiture or burning of

XRP as a mechanism of their utility. Id.

       Every time an RPR holder votes to burn/destroy another digital currency unit or debtor

account, the RPR Network—because it is hosted on the XRPL—must utilize minute fractions of

XRP for each vote. Id. at ¶ 19. These votes are recorded and read from memoranda posted to the

XRPL. Id. For example, when RPR holders vote in a Reaping, they must sign a transaction to vote,

which typically costs 0.000012 XRP. Id. at ¶ 20. The Reaping of October 22, 2022, consisted of

approximately 30,000 transactions, thereby utilizing approximately 0.36 XRP. Id.

       Lastly, though not the primary function of Reaper Financial, the company also creates

collectible non-fungible tokens (“NFTs”) on the XRPL. Id. at ¶ 21.1 The company created these

NFTs in coordination with artists for a variety of reasons, including membership for future events

and as digital artwork. Id. As these NFTs are minted through the utility of the XRPL, they are also

effectively XRP-based tokens while representing a subjective value as art. Id. at ¶ 22. 2

       III.    ARGUMENT.

       “Many, or [perhaps] most, cases involving cryptocurrency may raise legal issues for which

there are no controlling legal precedents in this Circuit or elsewhere in the United States or in other



       1
          “[NFT]s serve to encode ownership of unique physical, non-physical, or purely digital
goods, such as works of art or in-game items.” See “Non-Fungible Tokens Overview,”
XRPLedger.org, available at https://xrpl.org/non-fungible-tokens.html (last accessed Nov. 9,
2022).
       2
         Illustrative examples of Reaper NFTs are included within ¶ 21 of the Riley Decl.
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countries in which cases arise.” In re: Celsius Network LLC, et al., Case No. 22-10964 (Bankr.

S.D.N.Y. Oct. 17, 2022), ECF No. 1073 at *1 (Chief Judge Glenn advising parties he may consider

as “persuasive” the recommendations on cryptocurrency law by United Kingdom’s Law

Commission). The parties, amici, and requested amici have thoroughly addressed the case law—

or rather the dearth of it—in their respective briefings. Succinctly put, neither Congress nor the

SEC have articulated any meaningful statute, regulation or rule regarding the nascent

cryptocurrency industry.

       At the same time, no party has yet substantively addressed the legal implications of the

SEC’s argument in the context of other (non-XRP) tokens issued on the XRPL. Like amici I-

Remit, TapJets and SpendTheBits, Reaper Financial has no “common enterprise” with Ripple Labs

or its employees. Although these five companies do utilize the XRPL (along with countless other

network users), there is no case law supporting the allegation this common usage transforms the

XRPL into an investment contract any more than Microsoft Excel or Google Sheets are

transformed into investment contracts solely because these software programs share millions of

users. With respect to cryptocurrency tokens, although case law is minimal, there has not been a

case to hold the digital asset tokens per se are securities. See, e.g., SEC v. Telegram Grp., Inc., 448

F. Supp. 3d 352, 379 (S.D.N.Y. 2020) (“While helpful as a shorthand reference, the security in

this case is not simply the Gram [cryptocurrency], which is little more than alphanumeric

cryptographic sequence”) (emphasis added); see also SEC v. Telegram grp. Inc., 2020 WL

1547383 (S.D.N.Y. Apr. 1, 2020) at *1 (court clarifying the “one of the central points” of its order

was “that the ‘security’ was neither the Gram Purchase Agreement nor the Gram but the entire

scheme . . . made by Telegram”); see also SEC v. LBRY, Inc., 2022 WL 16744741 (D.N.H. Nov.

7, 2022) at *8 (granting summary judgment to SEC on “whether [defendant] offered LBC as a



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security” and not deciding whether digital currency token itself—LBC—was a security per se)

(emphasis added).

       Reaper Financial’s use of the XRPL and XRP in the secondary market has no relation to

any alleged ‘scheme’ of Ripple Labs, nor does such use satisfy the “character in commerce” test.

See SEC v. C.M. Joiner Leason Corp., 320 U.S. 344, 352-53 (1943) (“The test rather is what

character the instrument is given in commerce by the terms of the offer, the plan of distribution,

and the economic inducements held out to the prospect”). See also United Housing Foundation,

Inc. v. Forman, 421 U.S. 837, 852-53 (1975) (stating “the securities laws do not apply” where “a

purchaser is motivated by a desire to use or consume the item purchased”); id. at 851-52 (holding

courts “must examine the substance—the economic realities of the transaction—rather than the

names that may have been employed by the parties”).

       For Reaper Financial and RPR holders to vote in Reapings, they must execute a transaction

on the XRPL to exercise their vote. See Ex. 1, Riley Decl. ¶ 20. See also Telegram, 448 F. Supp.

3d at 360 n.3 (district court recognizing that cryptocurrency units “can be used to . . . offer voting

or governance rights within the blockchain”). “To protect the XRP Ledger from being disrupted

by spam and denial-of-service attacks, each transaction must destroy a small amount of XRP. This

transaction cost is designed to increase along with the load on the network, making it very

expensive to deliberately or inadvertently overload the network.” “Transaction Cost,”

XRPLedger.org, available at https://xrpl.org/transaction-cost.html (last accessed Nov. 9, 2022)

(emphasis in original). “The transaction cost is not paid to any party: the XRP is irrevocably

destroyed.” Id. (emphasis added). Thus, the very nature of the XRPL requires XRP to be burned

as a transaction cost in order to execute that transaction.

       Currently, the transactional cost to vote in a Reaping is roughly equivalent to



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$0.0000055344 (valuing 1 XRP at $0.46). See Ex. 1, Riley Decl. ¶ 20. The approximately 30,000

transactions that occurred during the Reaping on October 22, 2022 cost a combined total of 0.36

XRP, which would be equivalent to $0.1656 with 1 XRP valued at $0.46. Id. In practical terms,

the SEC would apparently seek to require Reaper Financial and similarly situated projects that

build on the XRPL with digital currency units other than XRP to abide by the securities reporting

requirements for tens of thousands of transactions that—in the above example—burn XRP at a

cumulative US dollar cost of less than two US dimes. This simply is not the purpose of the

Exchange Act; was not remotely contemplated by the Exchange Act (or its Blue Sky predecessors);

and is not even feasible given the number of daily transactions on the XRPL and their

pseudonymity.

       Additionally, it does not appear that any party’s briefing has addressed the concept that not

only is XRP itself burned as a transaction cost in each transaction on the XRPL, but also that

parties entirely unconnected to Ripple Labs can unilaterally destroy XRP as an inherent right to

being an XRP owner. One of many unique aspects of blockchain technology, such as the XRPL,

is that the software permits the creation of blackholed wallets from which XRP can never be

recovered once sent. See id. at ¶ 18. In the context of traditional securities, such as shares of a

company, Ripple Labs could—pursuant to securities reporting requirements—buy back its shares

from the marketplace and absorb them, reducing the number of outstanding shares (commonly

called a “share buyback”). But no investor in Ripple Labs may do the same. At best, a retail

investor could maintain shares in Ripple Labs and hold those shares until death, but even then such

shares would pass to the owner’s heirs, by intestacy or escheat to the state. In contrast, Ripple Labs

has no control or ability to prevent Reaper Financial from reducing the circulating supply of XRP

by destroying it. The closest analog would be to owners of US dollars burning those dollars. And



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even the SEC likely will not argue that setting fire to US dollars somehow constitute securities

transactions.

       Lastly, although not primary to Reaper Financial’s business, like other individuals and

entities Reaper Financial has created NFTs on the XRPL for a variety of reasons, including as

membership for future events and for digital art creation. See id. at ¶ 21. Creating NFTs on the

XRPL is similar to creating a token such as RPR on the network. Yet whereas RPR is fungible,

NFTs are unique. Again, Ripple Labs has no control over how Reaper Financial chooses to create

NFTs on the XRPL and Reaper Financial has no expectation that any NFT it creates will increase

in value due to the efforts of Ripple Labs. Buying a Ford Mustang does not constitute ownership

of Ford Motor Company and, again, it is unlikely the SEC would argue otherwise.

       IV.      CONCLUSION.

       For the reasons set forth above, Reaper Financial requests the Court grant Defendants’

Motion for Summary Judgment.



Dated: November 9, 2022                     Respectfully submitted,

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